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United States District Court WBS]'$EL])€§H§ICT COURT
For the FEZBARKANSAS

Westem District of Arkansas APR
04 2019
Answer to Summons ByUGL‘\SF. YOUNG

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Erin Fisher; Richard Fisher;
And minor child
V.
Jason Cook
Case#: 2:19cv2034 April 2, 2019

Comes now the defendant, Jason Cook, Pro Se, in answering the summons to civil action. The
defendant, Jason Cook, denies all claims in each section in their entirety. Such claims in said
lawsuit are false and should undergo close scmtiny by the Honorab|e Court of the United
States. The defendant is indigent and must at this time proceed Pro Se but requests that the
Honorable Court accept this as an answer to summons. The defendant, Jason Cook, prays that
the Honorab|e Court will be forgiving and merciful as to that lack of knowledge he may possess
as to proper procedure in the Honorab|e Court at this time. Please accept this letter as Answer
to Summons I humny submit to the Honorab|e Court of the United States.

Sincerely,

M€@>Q_,

Jason Cook

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